Raymond Tank and Elizabeth Tank, Petitioners, v. Commissioner of Internal Revenue, RespondentTank v. CommissionerDocket No. 60969United States Tax Court29 T.C. 677; 1958 U.S. Tax Ct. LEXIS 275; January 23, 1958, Filed *275 Decision will be entered for respondent.  Casualty Loss -- Sec. 23 (e) (3), I. R. C. 1939.  -- In 1951, cracks developed in ceilings of rooms of petitioner's new residence, and at other places.  The land where the house was constructed was adjacent to a river. The cracks, except for one, were never repaired. Petitioner has lived in the house continuously.  He relied on the opinion of his architect that the cracks were the result of some unusual cause, unrelated to the construction of the house, and did not have any independent, expert investigation made of the condition of the house or the underlying earth. Held, that in order to establish that damage to property is due to "other casualty" within the meaning of section 23 (e) (3), a taxpayer has the burden of proving the proximate cause of the damage.  Since petitioner failed to introduce competent proof of the cause of the damage he has failed to establish the occurrence of a casualty within the scope of section 23 (e) (3).  Held, further, that petitioner failed to prove that he sustained a loss of $ 21,700, or any lesser amount.  G. Charles Scharfy, Esq., and Robert Kniffin, Esq., for the petitioners.Maurice B. Townsend, Jr., Esq., for the respondent.  Harron, Judge.  HARRON *677  The Commissioner determined a deficiency in income tax for the taxable year 1951 in the amount of $ 11,140.63.  The questions for *678  decision are whether in 1951 there was a "casualty" within the meaning of section 23 (e) (3), 1939 Code, which affected the residence of petitioners, and, if there was, the amount of loss sustained from the casualty. The Commissioner disallowed a casualty loss deduction in the amount of $ 22,825.71.  Petitioners do not contest other determinations of the Commissioner.FINDINGS OF FACT.Petitioners are residents of Toledo, Ohio.  They filed a joint return for *277  the taxable year with the collector of internal revenue for the tenth district of Ohio.The petitioner Raymond Tank is a Ford automobile dealer.  For convenience, he is referred to hereinafter as the petitioner.In 1951, petitioner contracted for the construction of a residence on his property in Arden Place subdivision within the city limits of Toledo.  The house was substantially completed by October 1951, at which time the exterior and interior had been completed and the remaining work involved the installation of lighting fixtures and carpets.  In particular, all of the interior walls and ceilings had been plastered and painted, a fireplace and bookshelves in the living room had been finished, and all other interior work had been taken care of.Petitioner and his wife followed the practice of visiting their new house every day, or about that often.  On the occasion of a visit on October 16, 1951, they discovered various cracks in the ceilings of the dining room, living room, and the master bedroom, and in walls in the living room and elsewhere.  The crack in the ceiling of the living room ran the length of the room, 27 feet, and was about one-half inch wide.  The other ceiling *278  cracks were about the width of a pencil lead.  All of the cracks were wider than hairline cracks. None of the cracks, which are described in more detail hereinafter, existed when petitioner and his wife had visited the house during the preceding day.Petitioner reported the condition immediately to the supervising architect who, with the contractor, inspected the house.  The architect and the contractor believed that the cracks were caused by something other than normal settling of the building and the normal drying and shrinkage of plaster, wood, and other materials; both would not admit that the cracks were caused by any structural defects or faulty planning or workmanship.  They advised petitioner to let the cracks alone, to leave them unrepaired and exposed, and to allow a waiting period in order to find out whether more cracks would develop and the cause of the condition.  At that time the architects and the contractor stated that they did not know what had caused the various cracks. One exception to this advice was to make temporary repair of the crack in the living room ceiling, which was the widest.  Petitioner accepted *679  the advice.  The contractor filled in the *279  ceiling crack in the living room with spackling plaster and repainted the ceiling at no additional cost to petitioner.Petitioner and his wife moved into their new house in May 1952, they have lived there continuously ever since, and they have never tried to sell the property.  As of October 1, 1957, 6 years from the time the cracks appeared, no other or further cracks have developed anywhere in the house of the same general type.  The cracks which appeared in October 1951 have never been repaired.After the cracks developed in his house, petitioner did not obtain any qualified, independent, expert, disinterested engineering or other professional examination of the land where his house is located, or of the construction of the house and its foundations; or any opinion of a qualified, expert, independent, disinterested engineer, soil expert, or contractor about the cause of the cracks in his house which developed in October 1951.  He did not institute any suit against either the architects or the contractor, or make any formal claim under his contracts for damages against either.Petitioner's architect and the contractor did not have a consulting engineer examine petitioner's property*280  after the cracks developed in the house in October 1951 to find out the cause.Petitioner has never had an estimate made of how much it would cost to repair all of the cracks which developed in October 1951.After the cracks developed petitioner consulted his accountant who advised him to have an appraisal made of the property by a real estate appraiser for the purpose of making claim for a casualty loss tax deduction.  This was done.At first, in 1951, petitioner stopped making payments to the contractor, but his accountant advised him to continue making payments in accordance with the construction contract, which petitioner did.An appraisal of petitioner's property was made in February 1952 by William P. Brunson, an employee of the Etchen-Lutz Co., a real estate firm in Toledo, who was accompanied by a younger man, Donald Mortemore.  At the time of the trial of this case Brunson had passed away.  Brunson did not obtain any professional examination of the property, or professional opinion about the cause of the cracks.In a letter dated February 22, 1952, signed by Brunson and Mortemore, it was stated that the value of the property, "for a reasonably quick sale," was between $ 45,000*281  and $ 47,500.  This valuation took into account the cracks which had developed in October 1951.The entire cost to petitioner of the land and house amounted to $ 69,200, which consisted of the following: $ 21,000 was the cost of the 2 lots, numbers 8 and 9 in Arden Place subdivision, where the house *680  was constructed.  $ 43,372.29 was paid to the contractor for the construction of the house.  $ 4,827.71 was paid for architect's fees, landscaping, and miscellaneous improvements.In the joint return for 1951, petitioner computed the amount of an alleged casualty loss for damage to his new house in the amount of $ 22,825.71, on the basis of a total cost of $ 70,325.71, and a value after the alleged casualty in the amount of $ 47,500.  Petitioner now concedes that total cost was overstated in the return and that it amounted to $ 69,200, and he now claims a casualty loss deduction of $ 21,700, rather than $ 22,825.71.  Under petitioner's present claim the deduction was excessive to the extent of $ 1,125.71.In his income tax return, petitioner stated that the claimed casualty loss was due "to the vertical slippage of the river bank which caused the above reduction in the value *282  of taxpayer's property."The Commissioner disallowed the casualty loss deduction entirely.  He held that the amount claimed did "not constitute an allowable deduction under section 23 of the Internal Revenue Code of 1939."In addition to the above general facts, the following detailed facts are found:Lots 8 and 9 in Arden Place subdivision, where petitioner's house was built, have their frontage on River Road, and the street address is 4327 River Road, Toledo.  The lots are in the area which is strictly zoned as a residential area.  The lots extend to the shore of the Maumee River; petitioner's title includes the riparian rights; and petitioner has access to the river. The land owned by petitioner is a rectangular piece; it was originally fairly level, except for some depressions which did not exceed 6 inches.  The lots extend from River Road to the edge of an embankment which slopes down to the shore of the Maumee River on the Toledo side of the river. The edge of the embankment is 35 to 40 feet above the shore of the river. The slope of the embankment is at an angle of 22 1/2 to 30 degrees, roughly.  If a vertical line could be dropped down into the earth beneath the location*283  of petitioner's house, it would touch a point which would be about 98 feet back from the edge of the river. However, the house was constructed on a site which is 8 to 10 feet back from the edge of the above-described embankment, and about 50 feet back from River Road.  The house rests chiefly on lot 9.The petitioner's property commands a beautiful view of the Maumee River Valley.  The property is highly desirable for residential purposes because of the view, access to the river, and the riparian rights.The location of the house on the land was determined largely by the location of the setback line, or building or property line running through the lots.  Regulations required that the house must be built *681  back of the property line and since that line was 50 feet back from River Road, the house had to be placed that distance from the road.  Such location of the house placed it closer to the edge of the embankment in the rear than petitioner originally intended.The land on which petitioner's house rests was, before construction was started, undisturbed virgin soil.  The type of the soil is extremely hard clay.Petitioner's house is a 1-story, ranch-type house having about*284  8 rooms, and a garage and boilerroom which are part of the house.  The rooms are: Living room, dining room, 2 bedrooms, 2 bathrooms, a recreation room, a powder room, a kitchen, and a laundry.  The house does not have a basement.  It is not built on concrete slab, i. e., concrete floors.  The house is built on foundation walls which extend around the perimeter of the building and which are made of building blocks and concrete.  There is a crawl space 2 feet high between the ground and the bottom of the floor joists, except under the garage and boilerroom which are over slab on grade.Petitioner engaged a firm of registered architects, Karl B. Hoke's firm in Toledo, to draw the plans for the house.  Robert Clark, a graduate, licensed architect, who participated in preparing the plans, was the supervising architect. Fred W. Entenman Co. was the contractor. Petitioner considered both firms to be highly reputable and reliable.  The construction contract with Entenman Co. was a cost-plus-10-per-cent contract, the total cost not to exceed $ 43,252, unless the owner made changes or required extra work.  Article 9 of the contract, defining the contractor's financial responsibility, provided*285  the costs which should be borne by the contractor, which included "[any] cost due to the negligence of the Contractor or anyone directly employed by him, either for the making good of defective work, * * * making good of damage to property, or excess costs * * *." This clause provided, also, that the owner might "withhold money due the contractor to cover any such cost already paid by him as part of the cost of the work."The construction of the house began around May 16, 1951.  Prior to the initial work of putting in the footings and foundations, the architects made exploratory diggings, had the soil examined, and examined the bank sloping down to the river. The footings were put in at a depth deeper than building code regulations required for avoiding frost penetration.  The footings on the river bank side of the house were 3 feet, 6 inches deeper than was required.  They were wider than normal and were reinforced with three-fourths inch reinforcing rods.  Two massive concrete lugs, reinforced beyond requirements of the building code and larger, gave support to the footings and reinforcing rods.*682  Some of the other river front properties adjacent to or near the petitioner's*286  property have retaining walls along the embankment rising from the Maumee River. Petitioner did not have a retaining wall constructed along the embankment at the edge of his property before, at the time his house was built, or soon after.In the summer of 1957, petitioner decided to reinforce the embankment at the rear of his property with railroad ties, steel pipe, and concrete.  Although the record is not clear on this matter, it appears that he put up a retaining wall in 1957.All of the cracks in his house which were observed by the petitioner on October 16, 1951, which have been referred to above, were as follows: (a) In about the middle of the ceiling of the living room, running crosswise to the joists and the length of the room, 27 feet, was a crack in the plaster about one-half inch wide.  This crack was repaired in a temporary manner.  (b) A stone fireplace is located in the living room near a hall, or foyer, wall.  At the intersection of the fireplace and the hall wall is a crack in the plaster wall, not more than one-half inch wide, between the stone edge of the fireplace and the hall wall, which runs vertically from the floor to the ceiling. The fireplace pulled away*287  from the wall leaving a space of one-half inch between the stone edge and the plaster. Although this crack has not been repaired, its existence has not interfered with petitioner's use of the fireplace, and he has used the fireplace according to his desires, at all times.  (c) In the living room, at the left edge of the built-in bookcase, is a crack having a width of three-sixteenths to one-fourth inch, which runs vertically to the ceiling. (d) In the plaster ceiling of the dining room there are two cracks, running parallel to each other, about 18 inches apart, in the center of the ceiling, which run the length of the dining room, 13 feet. Each of these cracks is the width of a pencil lead.  These cracks run crosswise to the ceiling joists.  (e) In the plaster ceiling of one of the bedrooms, the master bedroom, there are two cracks. Each is the width of a pencil lead, or about one-sixteenth inch.  They run crosswise, or perpendicular, to the wood ceiling joists.  (f) In the wall of the same bedroom, at the entrance to a hallway, is a vertical crack running from the doorsill to the ceiling. (g) There was a crack in the tile of the shower in the master bathroom.  It was repaired*288  by the contractor at no extra cost to petitioner.  (h) There is a crack in a reinforced concrete sill at a door.  (i) There is a crack in a foundation wall, on the river side of the house, the width of a pencil lead, or one-sixteenth inch.  This crack has not been repaired. The location of the foundation wall, under the overhang of the wood part of the house is such that the crack in that foundation wall does not get wet.  Also, roof gutters connected to downdrains prevent water from running down the outer walls of the house to the foundation wall.*683  Petitioner was advised by his insurance agent that the extended coverage insurance which he had on the house did not cover the cracks, and petitioner has not received any insurance payments on account of the development of the cracks.Petitioner has never found out, or made any diligent effort to find out, what caused the development of the cracks. He has made assumptions as to the cause.Petitioner did not sustain in 1951 a loss from a casualty, or a loss from the development of the cracks, in the amount of $ 21,700.The stipulated facts are incorporated herein by this reference.OPINION.Petitioner claims deduction for a loss*289  from "other casualty" under section 23 (e) (3) of the 1939 Code.  1 Cracks developed in petitioner's new house and he contends that the damage resulted from a casualty, and that loss was sustained in the taxable year measured by the difference in the fair market value of his property before and after the development of the cracks. Petitioner has the burden of proving that in the taxable year there was a casualty which comes within the term "other casualty," that loss was sustained, and the amount of the loss.The question of the amount of loss, if loss was sustained, is a question of fact.  Whether there*290  was an "event" which constituted "other casualty" within that term as it is used in section 23 (e) (3) is often largely a question of fact, also.  Here, however, petitioner's contentions present a question which ordinarily is not involved, namely, whether in order to come within the term "other casualty" it is necessary to prove the cause of the damage.Petitioner contends first that he has established that the cracks could not have resulted from a cause connected with the work done or the materials used in constructing the house and that, therefore, he has established that they resulted from no other cause than a "shifting of the underlying" land which should be held to be within the term "other casualty." This argument proceeds along the line of attempting to eliminate various possible causes which would not come within the scope of section 23 (e) (3).  Petitioner also contends that "it is not essential to pinpoint with meticulous nicety the background or early causative factors which led up to the damage," and it is sufficient if the damage proceeded from an "unknown cause."*684  There is such large degree of confusion in petitioner's approach to the matter of the nature of*291  his burden of proof that it appears necessary to restate certain principles which seem to have been so well established as not to have required any extended discussion in cases dealing with the same kind of questions as are presented here.Two principles which appear to be obvious are that in order for a loss from damage to property to be deductible under section 23 (e) (3), it must be shown that the damage which occurred was a direct result of a casualty which is established by the taxpayer to come within the intendment of section 23 (e) (3), 5 Mertens, Law of Federal Income Taxation sec. 28.52; and that a taxpayer claiming the loss must be prepared to prove that the loss, if any, was sustained as a result of the casualty. Emily Marx, 13 T.C. 1099"&gt;13 T. C. 1099. The wording of section 23 (e) (3), "if the loss arises from fires, storms, shipwreck, or other casualty," requires proof that fire, storm, shipwreck, or "other casualty" was the proximate cause of the damage to property and loss.  Furthermore, the provisions of section 23 (e) (3) must be carefully rather than liberally construed, and the intendment of the Congress followed. New Colonial Co. v. Helvering, 292 U.S. 435"&gt;292 U.S. 435, 440;*292 B. M. Peyton, 10 B. T. A. 1129, 1131; Lyman v. Commissioner, 83 F. 2d 811, 814; Keenan, Jr. v. Bowers, 91 F. Supp. 771"&gt;91 F. Supp. 771, 773.In applying the doctrine of ejusdem generis in order to determine the meaning of "other casualty," the courts have resorted to dictionary definitions of accident and casualty, and have analyzed the causative factors in each case.  So particular has this process of analysis and correlation been in individual cases that it is difficult to abstract from them satisfactory general rules.  For example, see Keenan, Jr. v. Bowers, supra, where it was necessary to catalog examples of what is "other casualty," and what is not.  However it is noted that faulty construction has been held not to be "other casualty." William J. Matheson, 18 B. T. A. 674 affd.  54 F. 2d 537. And where a loss is caused by a chain of events on the part of individuals, and there is "no intervening sudden force, cause or occurrence which brought on the event such as would ever be present in a casualty*293  arising from fires, storms, or shipwreck," it has been held that the event or accident resulting in loss was not of the same kind "as would be caused by fire, storm or shipwreck." Keenan, Jr. v. Bowers, supra, p. 775.The burden of proof upon petitioner in this case, as in all cases, requires that petitioner must establish that there was a casualty within the meaning of "other casualty" in the statute, and a careful review of the authorities shows that in order to meet this burden of proof the proximate cause of the damage to property must be shown.  The burden of proof is not satisfied by making assumptions, or relying on hearsay about general conditions which are not shown to have existed on or in the property which has been damaged, or by presenting self-serving *685  opinions, or by alleging that the proximate time is unknown.  Rationalization from definitions of accident and casualty does not suffice.It is now established that an extensive and deep sinking of land caused by a subterranean disturbance is "other casualty" within the meaning of the statute, even though the exact cause of such subterranean disturbance is not known or ascertainable. *294 Harry Johnston Grant, 30 B. T. A. 1028, 1035. However, the taxpayer there produced proof that the proximate cause of the sinking of land was a subterranean disturbance. He, and other property owners, hired engineers with expert scientific and engineering knowledge to ascertain the cause of the sinking of land on his property.  The engineers made extensive investigations and surveys which involved digging into the earth, studying substrata, locating subterranean movements of masses of a particular type of material.  Such investigations were made by persons having special knowledge and skill.  They established the existence of several conditions and a cause of the sinking of land.  The taxpayer introduced evidence about the surveys, the conditions, and causes for the sinking of the taxpayer's land.  Such evidence established that subterranean disturbance was the cause.  This Court held that a subterranean disturbance which causes a sinking of land constitutes "other casualty."Petitioner relies upon the Grant case, but he attempts to find in our Opinion a rule which is not there, namely, that sudden and unexpected damage to property, "the exact cause*295  of which is unknown" is "other casualty." Of course, we did not express any such view in the Grant case.  Neither did we say that the taxpayer had not proved any proximate cause of the damage to his property.  Rather we said that the damage, a sinking of land, "was an unusual effect of several causes and conditions" which the facts which were found described in detail.  Petitioner's argument is based upon a clear instance of taking out of context part of a sentence (see p. 1035) which in an abundance of thoroughness stated that the original cause of the direct cause of the damage was unknown.The Grant case, on the proof which was presented by the taxpayer and on the facts found from such proof, is distinguishable from this case.The Commissioner has ruled, following the Grant case, that a "relatively rapid and severe subsoil shrinkage resulting from unusually severe drought which has weakened either vertical or lateral support for building foundations" resulting in "extensive cracking of walls and other serious damage to buildings in the area which can be attributed neither to faulty construction nor to such gradual settlement or subsidence as may normally occur over*296  a period of years" may be such an identifiable event fixing a point at which loss to the *686  owner of damaged property can be measured as to be "other casualty" within section 23 (e) (3). Rev. Rul. 54-85, 1954-1 C. B. 58. However, the burden of proving that the cause of any damage to property is of the nature described in the ruling rests upon the taxpayer.  It is noted that in cases where the Grant case has been followed, taxpayers presented proof of a phenomenon which was sudden, unexpected, and unusual, rather than gradual and progressive.  One way by which a taxpayer can successfully fulfill his burden of proof, where he alleges that the proximate cause of damage to a building was some such natural phenomenon as a subterranean, earth movement or a subsoil condition, is to present proof through a specialist or qualified expert in foundation work and subsoil conditions who has made examination of the taxpayer's property above and beneath the surface of the land.  Such expert, for example, might conduct his examination by making rather deep, exploratory openings in the earth which might establish a direct cause of cracks in a building. *297  Petitioner has failed to produce evidence about the condition of the earth under or near his house.  He presented no analysis by an independent, competent expert.  He did not hire one to explore the conditions of the earth under his house.  Petitioner, and his witnesses, merely made assumptions, which if proved, would bring this case under the rule of the Grant case.  Petitioner has failed to prove that the damage to his house was the result of "a subterranean disturbance," or an unstable condition of the earth beneath his house or elsewhere on his property, or a movement under or slippage of his property.  Illustrative of such failure are the following observations about the record:The house in question was a new house, the construction of which was close to completion when the cracks complained of developed and at that time petitioner and his wife had not moved into the house.  There was no known, visible, or ascertainable event on or about October 16, 1951, of an external type which could have affected the house or the land on which it stood, such as an earthquake, a storm, heavy rains, or the impact of some strong force.  Adjacent houses were not affected at or about *298  the same time.The supervising architect, Clark, testified as follows: "There was something wrong.  At that time we honestly did not know what caused it." Clark and the contractor examined the house and the property immediately after petitioner notified the architects of the development of the cracks. The record indicates that their examination consisted of no more than looking at the house and the land.  They did not make any opening in the earth around the foundation walls, or under the house, or anywhere on the property.  They did not make an exhaustive or even a diligent investigation to try to find out what had caused the cracks, and petitioner did not do so either.  *687  Neither petitioner nor those who were then responsible for constructing the house and turning it over to the owner in first-class condition, sought or engaged a competent expert in matters of the kind which were involved.  No competent, independent, disinterested person having technical training and experience, such as an engineer, or geologist, or any independent person having particular knowledge about structural design, tensions, materials, weight distribution, or subsurface conditions of earth, or such*299  matters was employed to examine the property to determine the cause of the cracks. Clark advised a wait-and-see policy, and so petitioner waited and he continued to do that for 6 years.  No other cracks developed and the proximate cause of the cracks was never ascertained in any objective and disinterested way.The contractor was not called to testify; only Clark gave testimony.  Although he is a graduate, licensed architect and, therefore, must be regarded as competent, he was the supervising architect, and his opinions must be considered along with the fact that his firm and that of the contractor were working together on the construction of the house and both had the self-serving interest which those under contract must have.  They were in the position of having to bear the cost of repairs or the payment of damages if their negligence, omissions, or faulty work had contributed to or caused the cracks. It must be recognized that any admissions on their part that the cracks had developed from inherent structural causes would be against their interests.It is in this light that we have been obliged to consider Clark's testimony to the effect that the cracks were not caused by drying*300  of wood joists, drying of plaster, structural defects, faulty materials, or faulty work.  His opinion to the effect that the cracks could have been caused by an earth tremor or a shifting of the earth under the house which could have caused a settling of a footing, or a "shifting of the foundation," or "a sudden jolt" is not corroborated by testimony of an independent and disinterested architect, contractor, engineer, or any other competent and skilled person.  Clark's view simply amounts to denial of any liability on the part of the architects and contractor, and by the process of eliminating all causes which could be related to their responsibilities he assumed that the cracks must have been caused by a movement or shifting of the ground under petitioner's house.Petitioner relies largely upon Clark's testimony.  For the reasons set forth above we are unable to accept Clark's testimony as establishing, under petitioner's burden of proof, that the cracks in the house were caused by a shifting or movement of the earth under the house, or by a subsoil shrinkage or condition, and that they were not caused *688  by the gradual settling or subsidence of the house, or by faulty materials, *301  faulty work, or the drying of materials.Petitioner also relies on the testimony of a former employee of the Etchen-Lutz Co., a real estate firm in Toledo, Donald Mortemore, as to the cause of the cracks. His testimony is entitled to very little weight for the following reasons: Mortemore's formal education ended upon graduation from high school in 1941 when he was about 18 years of age.  In 1946, after separation from the armed services in November 1945, Mortemore obtained a job as a real estate salesman with the Etchen-Lutz Co.  He received a real estate license after taking a 13 weeks' course and an examination.  In February 1952, after close to 6 years' experience in the above-named real estate firm, he accompanied an older employee of the firm, William P. Brunson, now deceased, on an inspection of petitioner's house.  They visited petitioner's property twice.  Brunson, a middle-aged man having 20 years' experience, was in charge of the inspection which was made for the purpose of making an appraisal of petitioner's house and property, and Brunson wrote the letter, dated February 22, 1952, which stated the appraisal. At that time, Mortemore's experience in making appraisals *302  was not extensive and such appraisal work as he had done usually was done under the supervision of an older person having more experience.  At that time, also, Mortemore's experience in connection with the construction of houses was not extensive and was of the type which is related to the selling of houses.At the trial of this case, Mortemore was asked if he had an opinion as to the cause of the cracks in petitioner's house as well as why Brunson had stated in his appraisal that the petitioner's property had depreciated due to "slippage" of land toward the river. Mortemore stated that his knowledge of slippage of land was based upon publicity in newspapers and conversation, which he heard, by people who were neighbors of petitioner.  Objection was made to Mortemore's expression of an opinion about the cause of the cracks in petitioner's house.  The objection was sustained.Attached to petitioner's income tax return for the taxable year is a clipping from a newspaper, the Toledo Blade, published on July 28, 1951.  The clipping shows pictures of men taking measurements of the slippage of earth on an embankment on the west bank of the Maumee River near the town of Maumee, and it reports*303  that authorities had begun a survey to determine the cause of the slippage. According to the news pictures, the slippage was a few feet. The record in this case shows that in 1951, 1952, and 1953 there was discussion about slippage of earth on embankments above the shore of the Maumee River, about a practice of commercial dredging of sand out of the Maumee River close to the shore, and about the desirability *689  of zoning the shore area of the river to extend the residential zone down to the shore. However, neither the clipping, above mentioned, nor the record before us establishes that the slippage of earth on embankments above the shore of the river occurred on or near the petitioner's property, which is at some point "near" the town of Maumee, the distance or nearness not being defined.In his testimony, petitioner expressed the opinion that the cracks in his house were due to the slipping or dropping of the embankment at the rear of his house.  Upon a careful examination of the entire record, it can be concluded only that petitioner's opinion represents no more than an assumption which has been largely influenced by, if not caused by, discussions and newspaper reports*304  about conditions along the shore of the Maumee River, in general.There is no evidence that on or about October 16, 1951, there was slippage or a dropping of the embankment on the edge of petitioner's property, at the rear of his house, or that at that time there was a movement of the earth under the house.  No one has testified that he saw the effects, such as loose earth which had moved or fallen, of any slippage or dropping of the embankment at the edge of petitioner's two lots, such as would be visible if such slippage or dropping had occurred, and there is no other evidence to that effect.  Also, there is no satisfactory proof that the land around, under, and close to petitioner's house suffered any noticeable change at or about the time the cracks developed.  Petitioner was asked if, when he discovered the cracks in his house, there were any cracks in the land close to his house, to which he replied, "The land looked the same to me," meaning, the land looked the same after as before the cracks in the house appeared.  He was unable to say that there were any depressions in the land near his house at the time.  Clark testified that before the land was prepared for the construction*305  of the house there were some depressions in the land not to exceed 6 inches, and that after the house had been put up and the cracks had appeared he noticed a depression in the land at the back of the house which was small and did not exceed 4 inches.  Whether or not there is any connection between the two, we do not know.  At any rate, after the cracks in the house had developed there was no important change which could be noticed in the land around the house.Petitioner has laid some emphasis on a crack in the foundation on the river side of the house, but Clark did not.  This crack, the width of a pencil lead, is not in any respect of such nature as could be described as a severe shearing or breakage in the foundation wall, and it was not sufficiently noticeable as to require repair.It is noted that there were no cracks in the floors of the house or any tilting, up or down, of the floors.*690  Although Clark denied that any defects in construction, design, work, or materials, or the shrinkage of materials, or settling could have caused the cracks, he admitted that at some unspecified time after the cracks in question appeared, there was a severe breakage in the stones making*306  a stone terrace in the front of the house.  Asked about this, he testified that stones in the terrace broke in half; that the stones had settled; that the entire terrace had to be replaced; and that there was a depression of about 1 foot in the front of the house where the settling and breaking of the stones occurred.  Clark stated, too, that he did not think the subsequent breakage of terrace and the cracks involved here were due to the same cause.Petitioner has never spoken to the contractor, Entenman, about the cracks. He spoke only to the architects. He has never obtained an estimate of the cost of repairing the cracks, and he has not had them repaired. (The repair of the ceiling crack in the living room is a temporary kind of repair.) He gave as his reason for not repairing the cracks that he had a claim for a casualty loss tax deduction pending, that he wanted the cracks to be seen in connection with his claim, and that he saw no reason for "fixing it all up" at his own expense.Upon consideration of all of the evidence, we are unable to find and hold that there was an identifiable event in October 1951 fixing a point at which an alleged loss to petitioner can be measured, *307  or that there was an identifiable event which was within the meaning of the term "casualty," as that term is used in section 23 (e) (3) of the 1939 Code.Although our above conclusion disposes of the issue presented, it is concluded, further, that petitioner failed to prove that the damage to his house resulted in a loss of $ 21,700 for the following reasons:The general rule is that the measure of a casualty loss on nonbusiness property under section 23 (e) (3) is the difference between the fair market value of the property immediately before and after the casualty, but not in excess of the adjusted basis of the property, and diminished by any compensation derived from insurance or otherwise.  Helvering v. Owens, 305 U.S. 468"&gt;305 U.S. 468; W. F. Harmon, 13 T.C. 373"&gt;13 T. C. 373, 383; I. T. 4032, 1950-2 C. B. 21.Petitioner arrived at the figure of $ 21,700 by using, first, the total cost of his house and land, $ 69,200, which he claims was the fair market value of the property immediately before the alleged casualty, and $ 47,500, which he claims was the fair market value immediately after.  He does not admit receipt*308  of any compensation from any source.The effect of the general rule is that the loss is measured by the difference of the fair market value before the casualty or adjusted *691  basis, whichever is lower, and fair market value after the casualty. Adjusted basis with nondepreciable property will generally be original acquisition cost plus any subsequent capital improvements.  The adjusted basis of petitioner's property is $ 69,200, the stipulated cost of the land and building with improvements.  Petitioner claims this figure is also the fair market value of the property before the casualty. The reasons advanced are that petitioner incurred the costs shortly before the casualty, that the house was constructed of standard materials, and that it was built by a reputable contractor. Hence, the petitioner argues the total cost represents what an average buyer would be willing to pay.  One of the realtors who had appraised the house after the cracks appeared testified that, absent the cracks and the condition causing them, the cost would be representative of its fair market value.There is nothing in the record to indicate that the realtor, Brunson, had ever made an inspection prior*309  to the cracking, or that he had ever tried to reconstruct its fair market value prior to the damage.  The letter of appraisal prepared by the realtor and an associate did not refer to market value before the damage, but merely set forth what the realtors felt the property would sell for on the market.  Even if the assumption is made that Mortemore, who assisted Brunson, was fully qualified in this field, and there is much in the record to indicate he was not, some basis for his opinion of the fair market value of the property prior to the damage should have been elicited.Petitioner contends that no one makes an appraisal in anticipation of a casualty. While this is undoubtedly true, once a casualty has occurred the fair market value of the property before damage may be reconstructed in a number of ways.Petitioner's cost may be some evidence of fair market value before the damage occurred, if that is the only criterion.  Guggenheim v. Rasquin, 312 U.S. 254"&gt;312 U.S. 254. But here there were, at the time the appraisal was made, other sources for establishing the fair market value of petitioner's property in October 1951, before the cracks developed.  We are not*310  satisfied that petitioner's cost was equivalent to the fair market value of the property before the damage.With respect to the appraisal of the fair market value of the property after the cracks developed, it is observed that the appraisers assumed that the cracks were caused by "severe and critical slippage of the land toward the river." The letter of appraisal is as follows:We feel that the valuation on what otherwise would be an extremely attractive property has been so depreciated due to the severe and critical slippage of the land toward the river that it is worth, in our minds, for a reasonably quick sale, some place between 45,000 (forty-five thousand) dollars and 47,500 (forty-seven thousand five hundred) dollars.*692  It has been concluded above that petitioner failed to prove the cause of the cracks; he did not prove that they were caused by any subterranean movement of earth, or by any slippage of his land toward the river. Since the opinion of fair market value after the damage appears to have been based primarily upon the assumption that there had been slippage of land, it must be rejected as unsound.  Furthermore, there is much in the record which indicates that*311  the appraisers must have known that the purpose of the appraisal was to "file a claim," to use the language of petitioner.The appraisal was made by an older man, having 20 years' experience, and a younger man who was being trained in the real estate field.  The younger man testified in this case that he was not fully qualified at the time the appraisal was made to make the appraisal, and that the letter of appraisal had been drafted by the older man, Brunson.  Unfortunately Brunson died before the trial.  In his letter of appraisal, Brunson referred to "severe and critical slippage of land toward the river," but he did not state where any slippage had occurred, or that he or anyone hired by him had located slippage anywhere on petitioner's land.  Without his explanation of his appraisal, it is of very little value.  He might have considered reports of slippage not on Tank's land.The next inquiry is whether, in any other way, petitioner proved the amount of the alleged loss.Where a taxpayer is not able to produce proof of value of property, before and after a casualty, we may consider cost of repairs as a measure loss, if there is clear evidence as to the cost of repairs, that such*312  cost was not excessive, and that the repairs did not increase the value of the property.  W. F. Harmon, supra, p. 383; Mary Cheney Davis, 16 B. T. A. 65, 68; John S. Hall, et al., Executors, 16 B. T. A. 71. The petitioner moved into his house immediately upon its completion and has resided there ever since.  No estimate of the cost of repairs was ever obtained; repairs were not made, except for the temporary repair of one crack which was done by the builder at no cost to the petitioner.  Petitioner has suffered no out-of-pocket expense, and he has retained the full beneficial use of his house.Petitioner must suffer more than a mere paper loss or fluctuation in value; there must be actual loss resulting in damage to or destruction of property. The law does not allow deduction for mere fluctuation in the value of property.  Citizens Bank of Weston, 28 T. C. 717, 720. Cf.  Harry Johnston Grant, supra.It is concluded that petitioner failed to prove by any means that he sustained a loss in any amount.  Cf.  Samuel Towers, 24 T. C. 199;*313 United States v. Koshland, 208 F.2d 636"&gt;208 F. 2d 636.Respondent's determination is sustained.Decision will be entered for respondent.  Footnotes1. SEC. 23. DEDUCTIONS FROM GROSS INCOME.In computing net income there shall be allowed as deductions:* * * *(e) Losses by Individuals.  -- In the case of an individual, losses sustained during the taxable year and not compensated for by insurance or otherwise --* * * *(3) of property not connected with the trade or business, if the loss arises from fires, storms, shipwreck, or other casualty, or theft. * * *↩